Case 1:05-cr-10056-.]DT Document 19 Filed 07/29/05 Pa elot2 P t t
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NESTER

UNITED STATES DISTRICT COURT

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wEsTERN DISTRICT 0F TENNESSEE DATE: __l/_¢ZZ¢¢£QQQ_
Eastern Division TEME: ij § 50 2),,\

initinLS: __qo___._

UNITED STATES OF Al\/IERICA

_vs_ Case No. l:05cr10056-001T

MICHAEL CREWS

 

ORDER OF TEMPORARY DETENTION
PENDING HI§JARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, AUGUST 2, 2005 AT at 2:30 P.M. before United States l\/lagistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, l l l
South Highland, .Tackson, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Date; July 29, 2005 “//'”'_`

S. THOl\/[AS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

 

Llt"not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion ot`the government, or up to five days upon motion of the defendant 18 U.S.C. § 3 142(1`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion ofthe attorney for the government or upon thejudicial officer's own motion, ifthere is a serious risk that the
defendant (a) will flee or (b) wi ll obstruct or attempt to obstructjustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure1 or intimidate a prospective witness or juror.

AO 470(81‘65) Order of Temporary Detention

 

DISTRIC COURT - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 19 in
case 1:05-CR-10056 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

J ames W. Powell

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Honorable J ames Todd
US DISTRICT COURT

